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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF GEORGIA
                           VALDOSTA DIVISION

CASSANDRA HOLMES,

     Plaintiff,                             CASE NO.:

v.

WELLS FARGO BANK, N.A.,

     Defendant.
                                 /


                  COMPLAINT AND DEMAND FOR JURY TRIAL

      COMES NOW, Plaintiff, CASSANDRA HOLMES, by and through the

undersigned counsel, and sues Defendant, Defendant, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47

U.S.C. § 227 et seq. (“TCPA”).



                                 INTRODUCTION

       1.     The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”




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      2.    “The TCPA is designed to protect individual consumers from

receiving intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs.,

LLC, 132 S. Ct. 740 (2012).

      3.    “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we

want to rip the telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator

Hollings presumably intended to give telephone subscribers another option: telling

the auto-dialers to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F.

3d 1242, 1256 (11th Cir. 2014).

      4.    According to the Federal Communications Commission (FCC),

“Unwanted calls and texts are the number one complaint to the FCC. There are

thousands of complaints to the FCC every month on both telemarketing and

robocalls. The FCC received more than 215,000 TCPA complaints in 2014." Fact

Sheet: Wheeler Proposal to Protect and Empower Consumers Against Unwanted

Robocalls, Texts to Wireless Phones, Federal Communications Commission, (May

27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.




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                          JURISDICTION AND VENUE

       5.    Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action

involves violations of the TCPA.

       6.    Subject matter jurisdiction, federal question jurisdiction, for purposes

of this action is appropriate and conferred by 28 U.S.C. § 1331, which provides

that the district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States; and this action

involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin.

Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B., 746

F.3d 1242, 1249 (11th Cir. 2014).

      7.     The alleged violations described herein occurred in Lowndes County,

Georgia. Accordingly, venue is appropriate with this Court under 28 U.S.C.

§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                           FACTUAL ALLEGATIONS

      8.     Plaintiff is a natural person, and citizen of the State of Georgia,

residing in the city of Valdosta, Lowndes County.



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      9.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A.,

755 F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d

1242 (11th Cir. 2014).

      10.    Defendant, Wells Fargo, is a Corporation and National Association

with a principal place of business located at 420 Montgomery Street, San

Francisco, California 94163, and conducting business the state of the Georgia.

      11.    Defendant called Plaintiff approximately four hundred (400) times in

an attempt to collect a disputed debt.

      12.    Upon information and belief, some or all of the calls Defendant made

to Plaintiff’s cellular telephone number were made using an “automatic telephone

dialing system” which has the capacity to store or produce telephone numbers to be

called, using a random or sequential number generator (including but not limited to

a predictive dialer) or an artificial or prerecorded voice; and to dial such numbers

as specified by 47 U.S.C § 227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will

testify that she knew it was an auto-dialer because of the vast number of calls she

received and because she heard a pause when she answered her telephone before a

voice came on the line.




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      13.    Plaintiff is the subscriber, regular user and carrier of the cellular

telephone numbers (229) ***-6073 and (229) ***-5286, and was the called party

and recipient of Defendant’s calls.

      14.    Defendant placed an exorbitant number of automated calls to

Plaintiff’s cellular telephone (229) ***-6073 and (229) ***-5286 in an attempt to

collect on a disputed debt.

      15.    Upon receipt of the calls from Defendant, Plaintiff identified the

telephone number on her caller ID as a Wells Fargo, N.A. number. Plaintiff was

familiar with this number due to the high number of telephone calls she received

from Defendant.

      16.    On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling her cellular telephones.

      17.    On or about September 2017, Plaintiff communicated with Defendant

from her aforementioned cellular telephone number, (229) ***-6073, and

instructed Defendant’s agent to cease calling.

      18.    Each subsequent call Defendant made to Plaintiffs aforementioned

cellular telephone number was knowing and willful and done so without the

“express consent” of Plaintiff.



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      19.    Again, in or about February 2018, Plaintiff answered another call

from Defendant to her aforementioned cellular telephone number, (229) ***-6073.

Plaintiff spoke to an agent/representative of Defendant and explained to them that

they needed to stop calling and harassing her cellular telephone number.

      20.    Despite clearly and unequivocally revoking any consent Defendant

may have believed they had to call Plaintiff on her cellular telephone, Defendant

continued to place automated calls to Plaintiff.

      21.    Plaintiffs      numerous              conversations   with     Defendant

agents/representatives over the telephone wherein she demanded a cessation of

calls were in vain as Defendant continues to bombard her with automated calls

unabated.

      22.    Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, which

such frequency as can reasonably be expected to harass.

      23.    On or about April 2018, Defendant’s harassment was so overbearing

that she changed her cellular telephone number to (229) ***-5286.

      24.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice to individuals just as they did to

Plaintiff’s cellular telephone in this case.

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      25.    Defendant has a corporate policy to use an automatic telephone

dialing system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s

cellular telephone in this case, with no way for the consumer, or Defendant, to

remove the number.

      26.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do

not wish to be called.

      27.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

      28.    Defendant has numerous complaints against it across the country

asserting that its automatic telephone dialing system continues to call despite being

requested to stop.

      29.    Defendant has had numerous complaints against it from consumers

across the country asking to not be called, however Defendant continues to call

these individuals.

      30.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant call list.

      31.    Defendant has a corporate policy to harass and abuse individuals

despite actual knowledge the called parties do not wish to be called.

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       32.      Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

       33.      Defendant willfully and/or knowingly violated the TCPA with respect

to Plaintiff.

       34.      From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion

of privacy and the intrusion upon her right of seclusion.

       35.      From each and every call without express consent placed by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of the

occupation of her cellular telephone line and cellular telephone by unwelcome

calls, making the telephone unavailable for legitimate callers or outgoing calls

while the telephone was ringing from Defendant call.

       36.      From each and every call placed without express consent by

Defendant to Plaintiff’s cellular telephone, Plaintiff suffered the injury of

unnecessary expenditure of her time. For calls she answered, the time she spent on

the call was unnecessary as she repeatedly asked for the calls to stop. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with

missed call notifications and call logs that reflect the unwanted calls. This also



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impaired the usefulness of these features of Plaintiff’s cellular telephone, which are

designed to inform the user of important missed communications.

      37.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and

annoyance to the Plaintiff. For calls that were answered, Plaintiff had to go to the

unnecessary trouble of answering them. Even for unanswered calls, Plaintiff had to

waste time to unlock the telephone and deal with missed call notifications and call

logs that reflected the unwanted calls. This also impaired the usefulness of these

features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

      38.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

      39.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space

in Plaintiff’s telephone or network.

      40.    Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s

chattel, namely her cellular telephone and her cellular telephone services.

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       41.    As a result of the calls described above, Plaintiff suffered an invasion

of privacy. Plaintiff was also affect in a personal and individualized way by stress,

anxiety, nervousness, embarrassment, distress and aggravation.



                                      COUNT I
                               (Violation of the TCPA)

       42.    Plaintiff fully incorporates and re-alleges paragraphs one (1) through

forty one (41) as if fully set forth herein.

       43.    Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone

after Plaintiff notified Defendant that Plaintiff wished for the calls to stop

       44.    Defendant repeatedly placed non-emergency telephone calls to

Plaintiff’s cellular telephone using an automatic telephone dialing system or

prerecorded or artificial voice without Plaintiff’s prior express consent in violation

of federal law, including 47 U.S.C § 227(b)(1)(A)(iii).

       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues

so triable and judgment against Defendant for statutory damages, punitive

damages, actual damages, treble damages, enjoinder from further violations of

these parts and any other such relief the court may deem just and proper.


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                           Respectfully submitted,

                           /s/ Octavio Gomez
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